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                      United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                          ____________


No. 23-1166                                                     September Term, 2023
                                                                             EPA-88FR37155
                                                       Filed On: September 19, 2023 [2017812]
Environmental Defense Fund,

                   Petitioner

         v.

Environmental Protection Agency and
Michael Regan, Administrator of the United
States Environmental Protection Agency,

                   Respondents

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American Chemistry Council,
                   Intervenor
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Consolidated with 23-1204

                                             ORDER

         Upon consideration of the motions for leave to intervene filed by:

Environmental Defense Fund; American Chemistry Council,

it is ORDERED that the motions be granted.

         Circuit Rules 28(d) and 32(e)(2) govern the filing of briefs by intervenors. A
schedule for the filing of briefs will be established by future order. That order will
automatically provide briefing only for intervenors on the side of respondents. Any
intervenor(s) intending to participate in support of petitioners must so notify the court, in
writing, within 14 days of the date of this order. Such notification must include a
statement of the issues to be raised by the intervenor(s). This notification will allow
tailoring of the briefing schedule to provide time for a brief as intervenor on the side of
petitioners. Failure to submit notification could result in an intervenor being denied leave
to file a brief.

        Intervenors supporting the same party are reminded that they must file a joint
brief or certify to the court why a separate brief is necessary. Intervenors' attention is
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particularly directed to D.C. Circuit Handbook of Practice and Internal Procedures 39
(2021), which describes "unacceptable" grounds for filing separate briefs. Failure to
comply with this order may result in the imposition of sanctions. See D.C. Cir. Rule 39.

                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Tatiana A. Magruder
                                                         Deputy Clerk




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